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BTXN 117a (rev. 10/02)
                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS


In Re:                                                    §
Highland Capital Management, L.P.                         §
                                                          §    Case No.: 19−34054−sgj11
                                        Debtor(s)         §    Chapter No.: 11
Highland Capital Management, L.P.                         §
                                       Plaintiff(s)       §    Adversary No.:      21−03000−sgj
      vs.                                                 §
Highland Capital Management Fund Advisors, L.P.,          §
NexPoint Advisors, L.P., Highland Income Fund,            §
NexPoint Strategic Opportunities Fund, NexPoint           §
Capital, Inc., and CLO Holdco, Ltd.                       §
                                       Defendant(s)       §
                                                          §


                          SUMMONS IN AN ADVERSARY PROCEEDING
To the above−named defendant:

You are hereby summoned and required to serve upon Zachery Z. Annable, Plaintiff's attorney (or if Plaintiff is not
represented by counsel, upon Plaintiff), whose address is Hayward PLLC
10501 N. Central Expressway
Suite 106
Dallas, TX 75231 , either a motion or an answer to the complaint which is now served upon you. If you elect to
respond first by motion, as you may pursuant to Fed. R. Bankr. P. 7012, that governs the time within which your
answer must be served. Otherwise, you are required to serve your answer upon Plaintiff's attorney (or upon Plaintiff if
Plaintiff is not represented by counsel) within 30 days of the date of issuance of this summons by the clerk (or by the
following date prescribed by the court: N/A) except that the United States or an office or agency thereof shall serve
an answer to the complaint within 35 days after the date of issuance of the summons.

{If this summons and complaint is served in a foreign country} Service of your answer must be made by the following
date prescribed by the court N/A.

The motion or answer served by you must be filed with this court before service or within a reasonable time after
service. IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS SUMMONS, JUDGMENT BY
DEFAULT WILL BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.



DATED: 1/8/21                                  FOR THE COURT:
                                               Robert P. Colwell, Clerk of Court

                                               by: /s/Michael Edmond, Deputy Clerk
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In Re: Highland Capital Management, L.P. v. Highland Capital Management Fund Advisors, L.P. et
Case No. 19−34054−sgj11 −11
Adv. No. 21−03000−sgj

                                      SUMMONS SERVICE EXECUTED


I,___________________________________________________________________________

of**_________________________________________________________________________

certify:



     If service was made by personal service, by residence service, or pursuant to state law, I further certify that I am,
and all times during service of process was, not less than 18 years of age and not a party to the matter concerning
which service of process was made;

     That on the __________ day of ____________________________________,_______ I served a copy of the
within summons, together with the complaint filed in this proceeding, on




the defendant in this proceeding, by {describe here the mode of service}




the said defendant at




I certify under penalty of perjury that the foregoing is true and correct.



           Executed on ___________________ _____________________________
                             (Date)                               (Signature)



           **____________________________________________________________________
             State mailing address
